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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                                               Case No.: 8:20-cr-120-T-02JSS

STEVEN CHUN
DANIEL TONDRE
                                            /

                        PRETRIAL DISCOVERY ORDER AND
                    NOTICE OF TRIAL AND STATUS CONFERENCE

       The Defendant having been arraigned and in order to facilitate a self-executing procedure

to regulate discovery proceedings in the instant action and to eliminate or minimize the number of

“routine or standard discovery motions,”

       IT IS HEREBY ORDERED AND ADJUDGED:

I.     That upon request by the defendant, at arraignment or in writing thereafter, counsel for the

Government shall, not later than fourteen (14) days from the date of defendant’s request (unless

otherwise specified in a particular paragraph), comply with the discovery and disclosure

requirements set forth below:

       A.      The Government shall furnish the following information and documents or supply
               copies thereof, which are within the possession, custody or control of the
               Government the existence of which is known to the Government.

               1.     All written, recorded, or oral statements made by the defendant, including
                      grand jury testimony, as defined in Rule 16(a)(1)(A).

               2.     The defendant’s prior criminal record as defined in Rule 16(a)(1)(B).

               3.     Documents and tangible objects which are material to the preparation of the
                      defense or were obtained from or belong to the defendant or are intended
                      for use by the Government in its case-in-chief, as defined in Rule
                      16(a)(1)(C). In addition, the Government shall notify the defendant of all
                      tape recordings or video recordings obtained during the investigation
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                  regardless of whether the recordings will be used in the Government’s case-
                  in-chief or contain statements of the defendant.

           4.     Results or reports of physical or mental examination, and of scientific tests
                  or experiments, which are material to the preparation of the defense, or are
                  intended for use by the Government, as defined in Rule 16(a)(1)(D).

           5.     At the defendant’s request, the Government shall disclose to the defendant
                  a written summary of testimony the Government intends to use under Rules
                  702, 703, or 705 of the Federal Rules of Evidence during its case-in-chief
                  at trial. This summary must describe the witnesses’ opinions, the bases and
                  the reasons therefor, and the witnesses’ qualifications.              Rule
                  16(a)(1)(E)(1993 amendment).

     B.    The Government shall advise its agents and officers involved in this case to
           preserve all rough notes.

     C.    The Government shall state whether defendant was identified in any lineup,
           showup, photo spread or similar identification proceeding, and produce any
           pictures utilized or resulting therefrom.

     D.    The Government shall state whether any evidence to be introduced at trial, or leads
           therefrom, was obtained as a result of a search warrant issued under Rule 41, Fed.
           R. Crim. P.

     E.    The Government shall state whether the defendant was the subject of electronic
           surveillance as defined in 18 U.S.C. § 2510(11), and if so, shall set forth in detail
           the circumstances thereof, including copies of the application(s), affidavit(s) and
           order(s).

     F.    The Government shall reveal to the defendant and permit inspection and copying
           of all information and material known to the Government which may be favorable
           to the defendant on the issue of guilt or punishment within the scope of Brady v.
           Maryland, 373 U.S. 83 (1963), and United States v. Agurs, 427 U.S. 97 (1976).

           Pursuant to Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, the
           government has a continuing obligation to produce all evidence required by the law
           and the Federal Rules of Criminal Procedure. See id. at 87 (holding that due process
           requires disclosure of “evidence [that] is material either to guilt or to punishment”
           upon request); Kyles v. Whitley, 514 U.S. 419, 437–38 (1995) (holding that the
           obligation to disclose includes evidence “known only to police investigators and
           not to the prosecutor,” and that “the individual prosecutor has a duty to learn of any
           favorable evidence known to the others acting on the government’s behalf . . . ,
           including the police”); United States v. Agurs, 427 U.S. 97, 107 (1976) (holding
           that the duty to disclose exculpatory evidence applies even when there has been no
           request by the accused); Giglio v. United States, 405 U.S. 150, 153–54 (1972)


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            (holding that Brady encompasses impeachment evidence); see also Fed. R. Crim.
            P. 16(a) (outlining information subject to government disclosure).

            The government’s obligation to provide exculpatory evidence pursuant to Brady in
            a timely manner is not diminished either by the fact that such evidence also
            constitutes evidence that must be produced later pursuant to Jencks Act, 18 U.S.C.
            § 3500, or by the fact that such evidence need not be produced according to Rule
            16. Where doubt exists as to the usefulness of the evidence to the defendant, the
            government must resolve all such doubts in favor of full disclosure.

            Accordingly, the Court sua sponte directs the government to produce to defendant
            in a timely manner—including during plea negotiations—any evidence in its
            possession that is favorable to defendant and material either to defendant’s guilt or
            punishment. The government is further directed to produce all discoverable
            evidence in a readily usable form. For example, the government must produce
            documents as they are kept in the usual course of business or must organize and
            label them clearly. The government must also produce electronically stored
            information in a form in which it is ordinarily maintained unless the form is not
            readily usable, in which case the government is directed to produce it in a readily
            usable form. If the information already exists or was memorialized in a tangible
            format, such as a document or recording, the information shall be produced in that
            format. If the information does not exist in such a format and, as a result, the
            government is providing the information in a summary format, the summary must
            include sufficient detail and specificity to enable the defense to assess its relevance
            and potential usefulness.

            Finally, if the government has identified any information which is favorable to the
            defendant but which the government believes not to be material, the government
            shall submit such information to the Court for in camera review.

      G.    The Government shall disclose to the defendant the existence and substance of any
            payments, promises of immunity, leniency, preferential treatment, or other
            inducements made to prospective Government witnesses, within the scope of
            United States v. Giglio, 405 U.S. 150 (1972), and Napue v. Illinois, 360 U.S. 264
            (1959). The Government shall supply the defendant with a record of prior
            convictions of any witness who will testify for the Government at trial.

II.   A.    Reciprocal Discovery: Any defendant requesting discovery of those items
            specified in Rule 16(a)(1)(C) and (D) shall promptly disclose to the Government
            all documents and tangible items and reports of examinations and tests to be
            introduced at trial as defined in Rule 16(b)(1), Fed. R. Crim. P. (reciprocal
            discovery).

      B.    Rule 404(b) Evidence: Not later than thirty (30) days after the date of this Order,
            the Government shall advise the defendant of the general nature of any evidence
            which it intends to introduce at trial pursuant to Rule 404(b), Fed. R. Evid.,


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               including any extrinsic act evidence which may be used during its case-in-chief, for
               impeachment, or for possible rebuttal purposes. See United States v. Carrasco, 381
               F.3d 1237, 1240–41 (11th Cir. 2004), and Fed. R. Evid. 404 advisory committee’s
               note (1991 amendment).

III.           It shall be the continuing duty of counsel for both sides to immediately reveal to
               opposing counsel all newly discovered information or other material within the
               scope of this Standing Order.

IV.    A.      All motions and memoranda concerning matters not covered by this Order must be
               filed within thirty (30) days after receipt of the government’s Rule 16(a) discovery,
               and responses must be filed within ten (10) days thereafter subject to the
               certification requirements of B, below.

       B.      The Court will not entertain any motion relating to discovery unless counsel for the
               moving party certifies to the Court, in writing: (1) that counsel for the parties have
               been unable to resolve their differences or reach an agreement after holding a
               conference or that opposing counsel has refused to confer without good cause; and
               (2) that the motion concerns matters which are not covered by this order and that
               the relief requested is supported by a factual and legal showing as set forth in the
               motion and memorandum.

       This case is set before the Honorable William F. Jung, United States District Judge:

               FOR TRIAL the weeks of the November 2, 2020, trial term.

       Motions to Continue must be filed as soon as the need for a motion to continue is

determined and no later than forty-eight (48) hours prior to the status conference. Any motion

shall state a reason under 18 U.S.C. § 3161(h)(7)(B) why a continuance is requested and be filed

as soon as it is known that a continuance is needed. Motions to continue must include the language

that defense counsel has specifically advised his client that by requesting this continuance, or

consenting thereto, the defendant has waived his rights to a speedy trial, as well as language

that they have consulted with the Assistant U.S. Attorney assigned to the case, and the AUSA

consents.

               FOR STATUS CONFERENCE on October 8, 2020, at 11:00 a.m.




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       AFTER THE FIRST DAY OF THE TRIAL TERM, ALL COUNSEL SHALL BE



AVAILABLE AND READY FOR THE TRIAL UPON 24 HOURS’ NOTICE.

       DONE and ORDERED in Tampa, Florida, on October 5, 2020.




Copies furnished to:
Counsel of Record




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